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 5

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   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-00122 DAD
12                                Plaintiff,            AMENDED STIPULATION TO CONTINUE
                                                        SENTENCING; AND ORDER
13                          v.
                                                        DATE: December 3, 2018
14   ALFONSO ESPARZA,                                   TIME: 10:00 a.m.
                                                        COURT: Hon. Dale A. Drozd
15                               Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

18 through defendant’s counsel of record, hereby stipulate as follows:

19          1.      By previous order, this matter was scheduled for sentencing on December 3, 2018.

20          2.      The United States Probation Officer has requested that the sentencing be rescheduled so

21 that he has adequate time to review the discovery and prepare Presentence Report. The parties have

22 conferred and are available for sentencing on January 22, 2019 at 10:00 a.m.

23          3.      The parties agree have agreed to the following schedule, and request that the Court order

24 the following:

25                  (a)    The sentencing hearing currently scheduled for December 3, 2018, should be

26 rescheduled for January 22, 2019 at 10:00 a.m.;
27                  (b)    The Presentence Referral Schedule should be amended as follows:

28                         (1)     The draft Presentence Report should be made available to Defense

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 1 Counsel and the AUSA on December 3, 2018;

 2                        (2)     Informal objections are due to Probation and Opposing Counsel on

 3 December 17, 2018;

 4                        (3)     Objections must be filed with the Court and served on Probation and

 5 Opposing Counsel on December 31, 2018.

 6                                                     Respectfully submitted,

 7
     Dated: October 18, 2018                               MCGREGOR W. SCOTT
 8                                                         United States Attorney
 9
                                                           /s/ MELANIE L. ALSWORTH
10                                                         MELANIE L. ALSWORTH
                                                           Assistant United States Attorney
11

12
     Dated: October 18, 2018                               /s/ DAVID BALAKIAN
13                                                         DAVID BALAKIAN
14                                                         Counsel for Defendant
                                                           ALFONSO ESPARZA
15

16

17                                                 ORDER

18          IT IS HERBY ORDERED that the sentencing hearing be continued to January 22, 2019 and the

19 deadlines for the PSI are as follows:

20          Draft PSR provided to parties:                      12/03/2018

21          Informal objections to Draft PSR:                   12/17/2018

22          Formal objections and sentencing memo due:          12/31/2018

23 IT IS SO ORDERED.

24      Dated:    October 22, 2018
25                                                   UNITED STATES DISTRICT JUDGE

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